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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 BARKAN WIRELESS IP HOLDINGS, L.P.,

                                 Plaintiff,                  Civil Action No. 2:21-cv-00034-JRG
         v.
                                                                 JURY TRIAL DEMANDED
 T-MOBILE US, INC., T-MOBILE USA, INC.,
 and NOKIA OF AMERICA CORPORATION,

                                 Defendants.


        PLAINTIFF’S NOTICE IN ADVANCE OF SCHEDULING CONFERENCE

        Pursuant to the Court’s April 19, 2021 Order (Dkt. 45) setting a scheduling conference for

May 12, 2021 at 9:00 a.m., Plaintiff Barkan Wireless IP Holdings, L.P. (“Plaintiff” or “Barkan”)

notifies the Court that, as identified in Plaintiff’s Civil Cover Sheet (Dkt. 1-4), this Action is related

to prior actions in this District. See Barkan Wireless IP Holdings, L.P. v. CommScope Technologies

LLC, No. 2:19-cv-336-JRG (E.D. Tex. 2019) (“CommScope”); Barkan Wireless IP Holdings, L.P.

v. Samsung Electronics Co., et al. (“Samsung”), No. 2:18-cv-00028-JRG (E.D. Tex. 2018).

        Plaintiff further notifies the Court that it is willing to proceed on an expedited schedule in

this Action. This Action involves the same Asserted Patents, similar Accused Products, similar

defendants, and similar plaintiff-side discovery to Samsung and CommScope. This Court has twice

construed the Asserted Patents, and Plaintiff has proposed that the parties forego a Markman

hearing and proceed under the Court’s existing constructions (subject to reservation of appellate

rights). Given the substantial document discovery and claim construction work done in prior cases,

Plaintiff expects no more than 9 months is necessary to prepare this Action for trial.

        Plaintiff has met and conferred with Defendants to seek assent to such an expedited

schedule, and is informed that Defendants are opposed to such relief.




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Dated: May 6, 2021                       Respectfully Submitted,

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                             CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel for the parties have complied with Local

Rule CV-7(h). The parties engaged in a lead and local meet and confer phone call concerning the

subject matter of this Notice on April 28, 2021 at 4:00 p.m. Central. Counsel present on the call

included Max Tribble, Bill O’Connell, Claire Henry, David Finkelson, Matthew Cornelia, Holly

Saporito, and Deron Dacus.



                                                           /s/ William D. O’Connell
                                                           William D. O’Connell




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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was filed electronically

incompliance with Local Rule CV-5(a). Therefore, this document was served on all counsel who

are deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A).



                                                  /s/ William D. O’Connell
                                                  William D. O’Connell




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